                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


In the Matter of:                                  )
                                                   )
LINA HILL                                          )   Case No.: 18-82774-CRJ-13
SSN: XXX-XX-0768                                   )
                                                   )   Chapter 13
                                                   )
                   Debtor.                         )

LINA HILL,                                         )
                                                   )
                   Plaintiff,                      )
                                                   )
v.                                                 )   AP No. 19-80011-CRJ-13
                                                   )
BANK OF AMERICA and                                )
CARRINGTON MORTGAGE SERVICES,                      )
LLC,                                               )
                                                   )
                   Defendants.                     )

                                 JOINT MOTION TO SUBSTITUTE COUNSEL

         Pursuant to Local Rule 83.1 of the United States District Court for the Northern District

of Alabama, made applicable to this adversary proceeding by Local Rule 2090-1 of the United

States Bankruptcy Court for the Northern District of Alabama, Defendant Bank of America

moves this Court to permit its present counsel to withdraw and be substituted by new counsel. In

support of its Motion Bank of America shows as follows:

         1.        The Debtor initiated this adversary proceeding by filing a complaint on February

7, 2019.

         2.        On February 27, 2019, Kent D. McPhail of Kent McPhail & Associates, LLC

entered a notice of appearance on behalf of Bank of America and the co-defendant, Carrington

Mortgage Services, LLC (“Carrington”).



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         3.        Subsequently, on March 14, 2019, Michael B. Odom of McGlinchey Stafford,

PLLC (“McGlinchey Stafford”) entered a notice of appearance also on behalf of Bank of

America and Carrington. Christopher Allen Bottcher, also of McGlinchey Stafford, also appears

as counsel of record for Bank of America and Carrington.

         4.        Bank of America has retained other counsel and requests that Kevin C. Gray and

the law firm of Bradley Arant Boult Cummings LLP be substituted as counsel for Bank of

America. All future pleadings, notices and other correspondence affecting Bank of America

should be forwarded to Kevin C. Gray, Bradley Arant Boult Cummings LLP, 200 Clinton

Avenue W, Suite 900, Huntsville, Alabama 35801.

         5.        In light of Kevin Gray’s entry as counsel of record for Bank of America, Kent D.

McPHail and the law firm of Kent McPhail & Associates, LLC, and Michael B. Odom and

Christopher Allen Bottcher and the law firm of McGlinchey Stafford request permission from

the Court to withdraw as counsel of record for Bank of America. Such counsel shall remain as

counsel of record for Carrington.        Bank of America agrees that these attorneys should be

permitted to withdraw and relieved from any future responsibilities in this case as to Bank of

America.

         6.        This Motion is not brought for purposes of delay but only to allow substitution of

counsel.

         WHEREFORE, Bank of America respectfully requests that this Court enter an Order

permitting Kent D. McPhail and the law firm of Kent McPhail & Associates, LLC and Michael

B. Odom and Christopher Allen Bottcher and the law firm of McGlinchey Stafford to withdraw

as counsel of record for Defendant Bank of America and allowing the substitution of Kevin C.

Gray and the law firm of Bradley Arant Boult Cummings LLP as counsel for Bank of America.


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         RESPECTFULLY SUBMITTED, this 24th day of April, 2019.

                                               /s/ Kevin C. Gray
                                               Kevin C. Gray

                                               Attorney for Bank of America

OF COUNSEL:
Bradley Arant Boult Cummings LLP
200 Clinton Avenue W, Suite 900
Huntsville, Alabama 35801
Telephone: (256) 517-5100
Facsimile: (256) 517-5200
kgray@bradley.com



                                               /s/ Christopher Allen Bottcher
                                               Christopher Allen Bottcher
OF COUNSEL:
McGlinchey Stafford PLLC
505 N 20th Street, Suite 800
Birmingham, Alabama 35203
Telephone: (205) 725-6411
Facsimile: (205) 278-6904
modom@mcglinchey.com




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                                    CERTIFICATE OF SERVICE

         I do hereby certify that I have electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

                   John C. Larsen
                   Larsen Law, P.C.
                   1733 Winchester Road
                   Huntsville, AL 35811

                   Attorney for Plaintiff

         THIS, the 24th day of April, 2019.

                                                  /s/ Kevin C. Gray
                                                  Of Counsel




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